Case 9:19-bk-11573-MB         Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13            Desc
                               Main Document    Page 1 of 17



 1     ERIC P. ISRAEL (State Bar No. 132426)
       eisrael@DanningGill.com
2 JOHN N. TEDFORD,IV (State Bar No. 205537)
      jtedfoNd@DanningGill.com
3 AARON E. DE LEEST (State Bar No. 216832)
       adeleest@DanningGill.com
4 DAMNING, GILL,ISRAEL & KRASNOFF,LLP
       1901 Avenue of the Stars, Suite 450
5 1 '~ Los Angeles, California 90067-6006
       Telephone: (310)277-0077
6 Facsimile: (310)277-5735

 7 General Counsel for Michael A. McConnell,
   Chapter 11 Trustee
 8
                           UNITED STATES BANKRUPTCY COURT
 9
                            CENTRAL DISTRICT OF CALIFORNIA
10
                                     NORTHERN DIVISION
11
   In re                                     Case No.: 9:19-bk-11573-MB
12
   HVI CAT CANYON,INC.,                      Chapter 11
13
                 Debtor.                     NOTICE OF HEARING ON INTERIM
14                                           AND FINAL APPLICATIONS FOR
                                             COMPENSATION AND
15                                           REIMBURSEMENT OF EXPENSES OF
                                             PROFESSIONALS
16
                                             Date: January 30, 2020
17                                           Time: 10:00 a.m.
                                             Place: Courtroom 201
18                                                  1415 State Street
                                                    Santa Barbara, California
19

20            NOTICE IS HEREBY GIVEN that the following interim and final applications for

21   compensation and reimbursement of expenses by professionals shall be heard on January 30, 2020,

22 at 10:00 a.m., in Courtroom 201 of the United States Bankruptcy Court, located at 1415 State

23 Street, Santa Barbara, California:

24 ///

25 ///

26 ///

27 ///

28 ///
     1 570668.2 26932                               1
 Case 9:19-bk-11573-MB        Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13             Desc
                               Main Document    Page 2 of 17



     Professionals                                                    Fees               Costs

 2                                                               $222,430.00               $7,344.63
      Chapter 11 Trustees
  3 Michael A. McConnell                                    (previously paid
      201 Main Street, Suite 2500                           $125,000.00)
  4   Fort Worth, Texas  76102
      [October 21, 2019 to December 31,2019]
  5 ~ INTERIM
       General Counsel to the Trustee2                           $460,926.00               $5,713.81
  6
      banning, Gill, Israel &Krasnoff,LLP("banning-Gill")
  7 Attn: Eric P. Israel, Esq.                               (previously paid
       1901 Avenue ofthe Stars, Suite 450                       $200,000.00)
  8 Los Angeles, California    90067-6006
      [October 21,2019 to December 31, 2019]
 ]G INTERIM
                                                                 $546,444.38              $21,125.12
[[I] Restructuring/Financial Advisor to Chapter 11 Trustee3
       CR3 Partners, LLP                                    (previously paid
 1 1 Attn: Tim Sullivan
                                                                $311,681.00)
      6171 West Century Boulevard, Suite 350
 12 Los Angeles, CA 90045
      [October 21, 2019 to December 31, 2019]
 13 INTERIM
                                                                 $537,004.50               $8,557.49
 14 Former Attorneys for Debtor and Debtor in Possession4
       Weltman &Moskowitz,LLP
 15 270 Madison Avenue, Suite 1400
       New York, New York 10016-0601
 16 [July 25, 2019 to October 21,2019]

 17 INTERIM

18

19

20

21   1 Pursuant to aCourt-approved procedure, Michael A. McConnell has been paid $125,000.00 ofthe
     total amount offees and costs requested, and Michael A. McConnell is currently requesting
22   payment ofthe remainder, less any subsequent payments.
23   2 Pursuant to aCourt-approved procedure, banning-Gill has been paid $200,000 ofthe total
     amount of fees and costs requested, and banning-Gill is currently requesting payment ofthe
24   remainder, less any subsequent payments.
     3 Pursuant to aCourt-approved procedure, CR3 Partners, LLP has been paid $311,681.00 ofthe
25   total amount offees and costs requested, and CR3 Partners, LLP is currently requesting payment of
     the remainder, less any subsequent payments.
26
     4 Although its fee application was filed as a final fee application, Weltman &Moskowitz, LLP has
27   agreed to have its application heard as an interim application. It is also seeking to draw down on
     the unused portion ofpre-petition retainer in the sum of $42,083.00
28
     1570668.2 26932                                 2
Case 9:19-bk-11573-MB          Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13              Desc
                                Main Document    Page 3 of 17



 1                                                                      $351,167.00          $9,180.72
     Attorneys for Official Committee of Unsecured
2    Creditorss
     Pachulski, Stang, Ziehl &Jones, LLP
3    Attn: Jeff Pomerantz, Esq.
     10100 Santa Monica Boulevard, 13t~' Floor
4    Los Angeles California 90067-4114
     [August 15, 2019 to October 20, 2019]
5
     INTERIM
6                                                                        $20,480.50             $73.50
     Co-Counsel to Official Committee of Unsecured
     Creditors
7
   Cole Schotz PC
8  301 Commerce Street, Suite 1700
   Fort Worth, TX 76102
9~
   [August 27, 2019 to September 11, 2019]
10   FINAL
                                                                        $107,641.50          $1,799.09
11   Financial Advisor to Official Committee of Unsecured
     Creditors
12   Conway MacKenzie, Inc.
     909 Fannin Street, Suite 4000
13   Houston, Texas 77010
14   [August 16, 2019 to October 21, 2019]
     FINAL
15                                                                       $12,691.00            $167.00
     Special Oil and Gas Counsel for the Official Committee
16   of Unsecured Creditors
     Dore, Rothberg, McKay
17   17171 Park Row, Suite 160
18   Houston, TX 77084
     INTERIM
19

20
             The foregoing is not intended to be a complete statement of the applications. Copies of the
21
     applications may be obtained by contacting the respective professionals, or may be viewed at the
22
     office of the Clerk of the Court at the address indicated above.
23

24

25

26
   5 Pursuant to aCourt-approved procedure, PSZ&J has been paid $59,726.68 of the total amount of
27 fees and costs requested and PSZ&J is currently requesting payment of the remainder, less any
   subsequent payments.
28
     1570668.2 26932                                   3
Case 9:19-bk-11573-MB        Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13               Desc
                              Main Document    Page 4 of 17



 1           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-

 2 1(a)(7), any opposition to the applications must be in writing in the format required by the Local

 3 Bankruptcy Rules, filed with the Clerk ofthe Court and served upon counsel for the Trustee, at the

 4 address in the upper left corner of the face ofthis Notice, upon the United States Trustee, 1415

 5 State Street, Suite 148, Santa Barbara, CA 93101 and upon the professional affected by the

 6 opposition, not less than fourteen(14)days before the hearing. Failure to comply with this

 7 procedure may be deemed consent to the granting ofthe relief requested.

 8

 9 DATED: January ~,2020                       DAMNING,GILL,ISRAEL & KRASNOFF,LLP

10

11                                             By:          '~      '~!J„
                                                     ERIC P. IS EL
12                                                   Attorneys for Michael A. McConnell,
13                                                   Chapter 11 Trustee

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     1570668.2 26932                                  4
        Case 9:19-bk-11573-MB                  Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13                                      Desc
                                                Main Document    Page 5 of 17

                                                PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901 Avenue of
the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (spec): NOTICE OF HEARING ON INTERIM AND FINAL
APPLICATIONS FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On January,_9,
2020 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                          ❑
                                                                                          D Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On January 9, 2020, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtor                                          Debtor
HVI Cat Canyon,Inc.                             HVI Cat CANYON,INC.
c/o Capitol Corporate Services, Inc.            630 Fifth Avenue, Suite 2410
36 S. 18th Avenue, Suite D                      New York, NY 10111
Brighton, CO 80601


                                                                                          ~ Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on January 9, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Personal Deliver, ALSSI to be delivered by January 10, 2020
The Honorable Martin R. Bash
U.S. Bankruptcy Court
21041 Burbank Boulevard, Bin on 1 S~ Floor outside entry to Intake Section
Woodland Hills, CA 91367
                                                                                          ~ Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



          9,2020                          Vivian Servin                                        /s/ Vivian Servin
 Date                                     Printed Name                                         Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

~une2o~2                                                                                      F 9013-3.1.PROOF.SERVICE
       Case 9:19-bk-11573-MB                  Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13                                      Desc
                                               Main Document    Page 6 of 17
                               ADDITIONAL SERVICE INFORMATION (if needed):

1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NrF")

  •     William C Beall            will@beallandburkhardt.com, carissa@beallandburkhardt.com

  •     Alicia Clough          aclough@loeb.com, mnielson@loeb.com,ladocket@loeb.com

  •     Marc S Cohen             mscohen@loeb.com, klyles@loeb.com

  • Alec S DiMario alec.dimario@mhllp.com,
    debra.blondheim@mhllp.com;Syreeta.shoals@mhllp.com

  • Karl J Fingerhood                  karl.fingerhood@usdoj.gov, efile_ees.enrd@usdoj.gov

  • H Alexander Fisch                  Alex.Fisch@doj.ca.gov

  • Don Fisher              dfisher@ptwww.com,tblack@ptwww.com

  • Brian D Fittipaldi                brian.fittipaldi@usdoj.gov

  •     Gisele M Goetz            gmgoetz@hbsb.com, ggoetz@collegesoflaw.edu

  • Karen L Grant                 kgrant@silcom.com

  • Ira S Greene              Ira.Greene@lockelord.com

  • Matthew C. Heyn                   Matthew.Heyn@doj.ca.gov, mcheyn@outlook.com

  • Brian L Holman                  b.holman@musickpeeler.com

  • Eric P Israel             eisrael@DanningGill.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com

  • Razmig Izakelian                 razmigizakelian@quinnemanuel.com

  • Alan H Katz               akatz@lockelord.com

   • John C Keith              john.keith@doj.ca.gov

   •    Jeannie Kim           jkim@friedmanspring.com

   •    Maxim B Litvak              mlitvak@pszjlaw.com

   • Michael Authur McConnell(TR)                           Michael.mcconnell@kellyhart.com

   • Brian M Metcalf                bmetcalf@omm.com

   • David L Osias dosias@allenmatkins.com,
     bcrflings@allenmatkins.com,kdemorest@allenmatkins.com,csandoval@allenmatkins.com

   • Darren L Patrick                dpatrick@omm.com, darren-patrick-1373@ecfpacerpro.com

   • Jeffrey N Pomerantz                  jpomerantz@pszjlaw.com

   • Todd C. Ringstad                 becky@ringstadlaw.com, arlene@ringstadlaw.com

   • Mitchell E Rishe               mitchell.rishe@doj.ca.gov
        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
      Case 9:19-bk-11573-MB           Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13 Desc
                                        Main Document      Page 7 of 17
  • Sonia Singh             ssingh@DanningGill.com, danninggill@gmail.com,ssingh@ecf.inforuptcy.com

  •    Daniel A Solitro           dsolitro@lockelord.com, ataylor2@lockelord.com

  • Ross Spence ross@snowspencelaw.com,
    janissherrill@snowspencelaw.com;donnasutton@snowspencelaw.com;brittanyDecoteau@snowspenc
    elaw.com

  • Christopher D Sullivan csullivan@diamondmccarthy.com,
    mdomer@diamondmccarthy.com;kmartinez@diamondmccarthy.com

  • Jennifer Taylor              jtaylor@omm.com

  • John N Tedford jtedford@DanningGill.com,
    danninggill@gmai1.com;jtedford@ecf.inforuptcy.com

  • Salina R Thomas                 bankruptcy@co.kern.ca.us

  • Patricia B Tomasco pattytomasco@quinnemanuel.com,
    barbarahowell@quinnemanuel.com;cristinagreen@quinnemanuel.com

  • Fred Whitaker               lshertzer@cwlawyers.com

  • William E. Winfield                 wwinfield@calattys.com, scuevas@calattys.com

  • Richard Lee Wynne richard.wynne@hoganlovells.com,
    tracy.southwell@hoganlovells.com;cindy.mitchell@hoganlovells.com

  • Emily Young pacerteam@gardencitygroup.com,
    rjacobs@ecf.epigsystems.com;ECFInbox@epigsystems.com

  • Aaron E de Leest adeleest@DanningGill.com,
    danninggill@gmail.com;adeleest@ecf.inforuptcy.com




       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
     Case 9:19-bk-11573-MB
                        Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13                                                           Desc
                         Main Document    Page 8 of 17
2. SERVED BY UNITED STATES MAIL:

MICHAEL McCONNELL,Chapter 11 Trustee
201 Main Street, Suite 2500
Fort Worth, Texas 76102

Bright and Brown
550 N Brand Blvd, Suite 2100
Glendale, CA 91203
Attn: Jim Bright

CR3 Partners, LLC
Attn: Tim Skillman
6171 W. Century Blvd
Suite 350
Los Angeles, CA 90045

Dore Rothberg &McKay
17171 Park Row, Suite 160
Houston, Texas 77084
Attn: Carl Dore, Jr.

Cole Schotz, P.C.
301 Commerce Street, Suite 1700
Fort Worth, Texas 76102
Attn: Michael D. Warner

Conway MacKenzie
909 Fannin Street, Suite 4000
Houston, TX 77010
Attn: John T. Young

EPIQ Corporate Restructuring, LLC
Attn: Robert A. Ho~en
777 3rd Avenue, 12 Floor
New York, NY 10017

Weltman &Moskowitz,LLP
270 Madison Avenue, Suite 1400
New York, NY 10016
Attn: Michael Moskowitz

Capello Global, LLP
10990 Wilshire Boulevard, Suite 1200
Los Angeles, CA 90024
Attn: Alexander L. Cappello and Louie Ucciferri




       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
Case 9:19-bk-11573-MB       Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13                        Desc
                              Main Document   Page 9 of 17
                     HVI CAT CANYON,INC. —Case No. 9:19-bk-12417-MB
                                        Master Service List



20 LARGEST CREDITORS


 Santa Barbara County Treasurer-   Allen Matkins Leck Gamble          Diamond McCarthy LLP
 Tax Collector                     865 South Figueroa Street          909 Fannin Street
 105 E. Anapamu St., Suite 109     Suite 800                          37th Floor Two Houston Center
 Santa Barbara, CA 93102           Los Angeles, CA 90017-2543         Houston, Texas 77010



                                   Akin Gump Straus Hauer &Feld
 Santa Barbara County-APCD                                            Santa Barbara County P&D
                                   1999 Avenue of the Stars
 260 NORTH SAN ANTONIO RD.,                                           123 East Anapamu Street
                                   Suite 600
 SANTA BARBARA, CA 93110                                              Santa Barbara, CA 93101
                                   Los Angeles, CA 90067


 W. J. Kenny Corp.                                                    Ann Jenny Schupp
 C/O Allfirst Bankcorp Trust do    PG&E
                                                                      CIO M H Whittier Corp.
 M&T Bank                          77 Beale St
                                                                      1600 Huntington Drive
 One M&T Plaza                     San Francisco, CA 94177
                                                                      South Pasadena, CA 91030
 Buffalo, NY 14203

                                   J. P. Morgan-Chase
                                                                      WEST COAST WELDING &
 William W.JennyJr.                Attn: Michael Kemey
                                                                      CONSTR.
 5101 East Camino Alisa            450 West 33rd Street, 15th Floor
                                                                      2201 Celsius Avenue Suite B
 Tucson, AZ 85718                  Ref: 030057 Nassau Assoc-Saba
                                                                      Oxnard, CA 93030
                                   New York, NY 10041


                                                                      Larsen O'Brien LLP
 Sherrill A. Schoepe               Andrew Kurth LLP
                                                                      555 South Flower
 14974 Adams Dr.                   600 Travis Suite 4200
                                                                      Suite 4400
 Pauma Valley, CA 92061            Houston, TX 77002
                                                                      Los Angeles, CA 90071



                                   California Department of
 Victory Oil                                                          Diane T. Walker
                                   Conservation
 222 West 6th Street. Suite 1010                                      748 Oceanville Road
                                   801 K Street
 San Pedro, CA 90731                                                  Stonington, ME 04681-9714
                                   Sacramento, CA 95814


 Stoner Family Trust
 James G. Sanford Trustee          Charles C. Albright Trustee
 100 West Liberty Street. Suite    729 West 16th Street #B8
 900                               Costa Mesa, CA 92627
 Reno, NV 89501




1572280.1 26932
Case 9:19-bk-11573-MB                   Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13                                Desc
                                        Main Document     Page 10 of 17
                          HVI CAT CANYON,INC. —Case No. 9:19-bk-12417-MB
                                                  Master Service List


OFFICIAL COMMITTEE OF UNSECURED CREDITORS


                                            Escolle Tenants in Common
 Brian Corson                                                                     Pacific Petroleum California, Inc.
                                            215 N. Lincoln Street
 2990 Lichen Place                                                                POB 2646
                                            Santa Maria, CA 93458
 Templeton, CA 93465                                                              Santa Maria, CA 93457
                                            Attn: Vincent T. Martinez



REQUESTS FOR SPECIAL NOTICE

                                            Attorneys for Eller Family Trust       Attorneys for Virginia Tract/ fka Virginia
 Attorneys for Buganko                                                             Kestner Griswold
                                            Cummins &White, LLP
 Philip W. Ganong                                                                  William Winfield
                                            Attn: Fred M. Whitaker, P.C.           Nelson Comis Kettle&Kinney LLP
 Ganong Law
                                            Ashley Bolduc                         300 E. Esplanade Drive, Ste 1170 Oxnard,
 930 Trustun Avenue, Suite 102              2424 S.E. Bristol Street, Suite 300    California 93036-0238
 Bakersfield, CA 93301                      Newport Beach, CA 92660               (SERVED VIA NEF)

                                                                                   Attorneys for Robert Kestner
                                                                                   William Winfield
 Frank and Sylvia Boisseranc                Rob Thomson
                                                                                   Nelson Comis Kettle&Kinney LLP
 300 W. Paseo de Cristobal                  1920 Wilbur Avenue                    300 E. Esplanade Drive, Ste 1170
 San Clemente, CA 92672                     San Diego, CA 92109                    Oxnard, California 93036-0238
                                                                                  (SERVED VIA NEF)


  Attorneys for lane Connolly
  William Winfield
  Nelson Comis Kettle&Kinney LLP
 300 E. Esplanade Drive, Ste 1170 Oxnard,
  California 93036-0238
 (SERVED VIA NEF)


5 LARGEST SECURED CLAIMANTS AND THEIR COUNSEL(Only 4 listed)

                                            Diamond McCarthy LLP                  GIT, Inc.
 CTS Properties, Ltd.                                                             c/o Peter Calamari, Patricia B.
                                            c/o Allan B. Diamond and Sheryl P
 c/o Ira S. Greene                                                                Tomasco and Devin van der Hahn
                                            Giugliano
 Locke Lord LLP                                                                   Quinn Emanuel Urquhart &Sullivan
                                            Diamond McCarthy LLP
 200 Vesey Street                                                                 51 Madison Avenue, 22"d Floor
                                            295 Madison Avenue, 27th Floor
 New York, NY 10281                                                               New York, NY 10010
                                            New York, NY 10017

 U BS AG London Branch                      UBS AG London Branch
                                                                                   UBS AG London Branch
 c/o Evan M. Jones, Brian M. Metcalf        c/o Daniel 1. Cantor
                                                                                  c/o Jennifer Taylor
 a nd Darren L. Patrick                     O'Melveny &Myers, LLP
                                                                                  O'Melveny &Myers, LLP
 O'Melveny &Myers, LLP                      Seven Times Square
                                                                                  Two Embarcadero Center, 28~h Floor
 400 South Hope Street, 18th Floor          New York, NY 10036
                                                                                  San Francisco, CA 94111
 Los Angeles, CA 90071




1572280.1 26932
Case 9:19-bk-11573-MB          Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13                               Desc
                               Main Document     Page 11 of 17
                       HVI CAT CANYON,INC. —Case No. 9:19-bk-12417-MB
                                             Master Service List

I NTERESTED PARTIES


 Internal Revenue Service                                                     California Dept. Of Toxic
                                       Wyatt Sloan-Tribe, Esq.
(Small Business/Self-Employment                                               Substance Control
                                       Office of the Attorney General
 Div.)                                                                        (Berkeley Regional Office)
                                       300 S. Spring Street, Suite 1702
5000 Ellin Road                                                               700 Heinz Avenue, Suite 200
                                       Los Angeles, CA 90013
 Lanham, MD 20706                                                             Berkeley, CA 94710

                                       United States Attorney's Office
                                       Southern District of New York          Internal Revenue Service
 California OSHA                                                              Centralized Insolvency Operations
                                       Attn: Anthony Sun, AUSA
 1515 Clay Street, Suite 1901          Tax &Bankruptcy Unit                   PO Box 7346
 Oakland, CA 94612                     86 Chambers Street, 3~d Floor          Philadelphia, PA 19101-7346
                                       New York, NY

 State of New York Attorney General
 Attn: Letia A. James                  U.S. Dept. of Transportation
 Dept. of Law                          1200 New Jersey Avenue, SE
 The Capitol, 2^d Floor                Washington, DC 20590
 Albany, NY 12224


ALL CREDITORS(AS OF 1/9/2020)


 Allen Matkins Leck Gamble Mallory
 & Natsis                              BUGANKO,LLC                            Buganko
 Allen Matkins, et al.                 2200 Ross Avenue                       930 Truxtun Avenue, Suite 102
 One America Plaza                     Suite 4800 West                        Bakersfield, CA 93301-4700
 600 West Broadway, 27th Floor         Dallas, TX 75201-2708
 San Diego, CA 92101-3311


 California State Lands Commission     County Assessor                        County Tax Collector
 Richard D. Nobles                     County Government Center,              P.O. Box 357
 100 Howe Ave Suite 100 S              Room 100                               Santa Barbara, CA 93102-0357
 Sacramento, CA 95825-8219             San Luis Obispo, CA 93408-0001

                                       Department of Conservation, Division
 County of Santa Barbara, California   of Oil,
 c/o Ross Spence                       c/o California Department of Justice   Diamond McCarthy LLP
 Snow Spence Green LLP                 Office of the Attorney General         1999 Avenue of the Stars, Suite 1100
 2929 Allen Parkway, Suite 2800        300 S. Spring Street                   Los Angeles, CA 90067-4618
 Houston, TX 77019-7125                Suite 1702
                                       Los Angeles, CA 90013-1256
 Direct Energy Business Marketing,
 LLC d/b/a                             Eller Family Trust                     Employment Development Dept.
 c/o McDowell Hetherington LLP         Cummins &White,LLP                     Bankruptcy Group MIC 92E
 Attention: Jarrod B. Martin           2424 SE Bristol Street, Suite 300      P.O. Box 826880
 1001 Fannin, Suite 2700               Newport Beach, CA 92660-0764           Sacramento, CA 94280-0001
 Houston, TX 77002-6736

                                       HVI Cat Canyon, Inc.                   Harry E. Hagen, as Treasurer-Tax
 Franchise Tax Board                   c/o Capitol Corporate Services, Inc.   Collector c/o Ross Spence
 Bankruptcy Section MS: A-340          36 S. 18th Avenue                      Snow Spence Green LLP
 P.O. Box 2952                         Suite D                                2929 Allen Parkway, Suite 2800
 Sacramento, CA 95812-2952             Brighton, CO 80601-2452                Houston, TX 77019-7125



1572280.1 26932
Case 9:19-bk-11573-MB                  Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13                     Desc
                                       Main Document     Page 12 of 17
                       HVI CAT CANYON,INC. —Case No. 9:19-bk-12417-MB
                                               Master Service List



                                                                                PACIFIC GAS &ELECTRIC
 Internal Revenue Service                 Kern County Treasurer Tax Collector   COMPANY
 PO Box 7346                              1115 Truxtun Avenue 2nd Fl            PO BOX 8329
 Philadelphia, PA 19101-7346              Bakersfield, CA 93301-4639            STOCKTON CA 95208-0329



 Santa Barbara Air Pollution Control                                            United States Trustee
 District c/o Ross Spence                 Securities &Exchange Commission
                                                                                1100 Commerce Street
 Snow Spence Green LLP                    444 South Flower St., Suite 900       Room 976
 2929 Allen Parkway, Suite 2800           Los Angeles, CA 90071-2934            Dallas, TX 75242-0996
 Houston, TX 77019-7125

                                          Andrea Righetti Fields, Ernest
                                          Michael Righe                         Beth G. McManis
 API Waste Services                       Krista K. Sabin c/o Ogden & Fricks
 PO Box 5754                                                                    1398 S. Burlington St
 Santa Maria, CA 93456-5754                                                     Flagstaff, AZ 86001-2445
                                          656 Santa Rosa Street, Suite 2B
                                          San Luis Obispo, CA 93401-4806

                                          Buganko LLC
 Bradley Land Company                     c/o Eric M. Van Horn                  County of Orange
 co Musick, Peeler &Garrett LLP           SPENCER FANE LLP                      P.O. Box 4515
 One Wilshire Building                    2200 Ross Avenue                      Santa Ana, CA 92702-4515
 624 S. Grand Avenue, Suite 2000          Suite 4800 West                       Attn: Bankruptcy Unit
 Los Angeles, CA 90017-3321               Dallas, TX 75201-7901


 County of Santa Barbara, CA              Daniel May,Trustee 2014 Johnson       Diamond McCarthy LLP
 c/o Snow Spence Green LLP                Trust DMTJT                           co Allen B. Diamond
 2929 Allen Parkway, Ste. 2800            359 S. Gerhart Ave                    909 Fannin, Ste. 3700
 Houston, TX 77019-7125                   Los Angeles, CA 90022-2314            Houston, TX 77010-1049


 Direct Energy Business Marketing,                                              Employment Development
 LLC                                      Direct Energy Business, LLC           Department
 dba Direct Energy Business               co McDowell Hetherington LLP.         Bankruptcy Group MIC 92E
 co McDowell Hetherington LLP.            1001 Fannin, Suite 2700               1'O BOX 826880
 1001 Fannin, Suite 2700                  Houston, TX 77002-6736
                                                                                Sacramento, CA 95814
 Houston, TX 77002-6736

                                                                                GIT Inc.
 Epley Family Irrevocable Trust of        Frank D Gonzales MD APC               c/o Patricia B. Tomasco
 1998                                     Gonzales Occupational Medicine        Devin van der Hahn
 c/o Jean F. Bacal, Trustee               Center                                Quinn Emanuel Urquhart &Sullivan
 3967 Center Ave                          301 E Cook St, Suite C
                                                                                ~> > Louisiana, Suite 500
 Norco, CA 92860-1581                     Santa Maria, CA 93454-5133            Houston, Texas 77002-2721


 GIT Inc.
 c/o Peter Calamari                       GMART Holdings                        HVI CAT CANYON,INC.
 Quinn Emanuel Urquhart &Sullivan         9804 Escondido Canyon Rd.             2550 CANET ROAD
 51 Madison Avenue, 22nd Floor            Aqua Dolce, CA 91390-4814             SAN LUIS OBISPO,CA 93405-7836
 New York, New York 10010-1603




1572280.1 26932
Case 9:19-bk-11573-MB          Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13                               Desc
                                Main Document    Page 13 of 17
                        HVI CAT CANYON,INC. —Case No. 9:19-bk-12417-MR
                                             Master Service List


 Harry Hagen,Treasurer and Tax
 Collector                                                                   John C. Keith
                                       Joan Collier Trust                    Deputy Attorney General
 Santa Barbara County                  1720 San Luis Drive
 c/o Snow Spence Green LLP                                                   300 South Spring St Suite 1702
                                       San Luis Obispo, CA 93401-3017        Los Angeles, CA 90013-1256
 2929 Allen Parkway, Ste. 2800
 Houston, TX 77019-7125


                                                                             Locke Lord LLP
 Kern County Treasurer Tax Collector   Larry L Wallace                       Attn: Ira S. Greene
 P.O. Box 579                          PO Box 1146                           200 Vesey Street 20th Floor
 Bakersfield CA 93302-0579             Aspen, CO 81612-1146                  New York, NY 10281-1006



                                                                             Official Committee of Unsecured
                                       Office of the United States Trustee   Creditors
 OMELVENY & MYERS LLP
                                       U.S. Federal Office Building          c/o Cole Schotz P.C.
 400 South Hope Street, 18th Floor     201 Varick St., Room 1006
 Los Angeles, CA 90071-2830                                                  301 Commerce Street, Suite 1700
                                       New York, New York 10014-7016         Fort Worth, TX 76102-4126

 Official Committee of Unsecured       Official Committee of Unsecured
 Creditors                                                                   PACHULSKI STANG ZIEHL &
                                       Creditors                             JONES LLP
 c/o Pachulski Stang Ziehl &Jones      c/o Pachulski Stang Ziehl &Jones
 LLP                                                                         10100 Santa Monica Blvd., 13th
                                       LLP                                   Floor
 10100 Santa Monica Blvd.              780 Third Avenue, 34th Floor
 1 1th Floor                                                                 Los Angeles, CA 90067-4003
                                       New York, NY 10017-2024
 Los Angeles, CA 90067-4003

 PACHULSKI STANG ZIEHL &               Patsy Jean (Crowell) Lowell           Quinn Emanuel Urquhart &Sullivan
 JONES LLP                             4895 Thebes Way                       51 Madison Avenue, 22nd Floor
 780 Third Avenue, 34th Floor          Oceanside, CA 92056-7441              New York, New York 10010-1603
 New York, NY 10017-2024


                                       Robert J. Feinstein, Esq.             Santa Barbara County Air Pollution
 Quinn Emanuel Urquhart &Sullivan      Richard E. Mikels, Esq.               Control D
 LLP                                   PACHULSKI STANG ZIEHL &               c/o Snow Spence Green LLP
 711 Louisiana, Suite 500              JONES LLP                             2929 Allen Parkway, Ste. 2800
 Houston, TX 77002-2721                780 Third Avenue, 34th Floor          Houston, TX 77019-7125
                                       New York, NY 10017-2024

                                        Epiq Corporate Restructuring, LLC    Jane Connolly
 Silvas Oil Co., Inc. dba Pence         Claims Age
 Petroleum                                                                   Nelson Comis Kettle &Kinney LLP
                                       (f/k/a Bankruptcy Services LLC)       300 E. Esplanade Dr., Suite 1170
 3217 E. Lorena Ave                     777 Third Avenue, 12th Floor
 Fresno, CA 93725-1009                                                       Oxnard, CA 93036-0238
                                        New York, NY 10017-1302


                                                                             Robert Kestner
 Michael Authur McConnell(TR)           Rob Thomson                          Nelson Comis Kettle &Kinney LLP
 201 Main Street, Suite 2500            1920 Wilbur Ave                      Attn: William E Winfield
 Fort Worth, TX 76102-3129              San Diego, CA 92109-1412             300 E Esplanade Dr Ste 1170
                                                                             Oxnard, CA 93036-0238




1572280.1 26932
Case 9:19-bk-11573-MB          Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13       Desc
                               Main Document     Page 14 of 17
                     HVI CAT CANYON,INC. —Case No. 9:19-bk-12417-MB

                                        Master Service List



                                   Virginia Tracy
 Sylvia Boisseranc                 Nelson Comis Kettle &Kinney LLP
 300 W.Paseo De Cristobal          Attn: William E Winfield
 San Clemente, CA 92672-5435       300 E Esplanade Dr Ste 1170
                                   Oxnard, CA 93036-0238

3.   SERVED BY EMAIL

 Name                                               Email
 AKIN GUMP STRAUS HAUER & FELD
 STEPHEN D. DAVIS                                   SDDAVIS@AKINGUMP.COM


 ALLEN MATKINS LECK GAMBLE
 JAMES L. MEEDER                                    JMEEDER@ALLENMATKINS.COM


 ANDREW KURTH LLP.
 DAVID A. ZDUNKEWICZ                                DZDUNKEWICZ@ANDREWSKURTH.COM


 ATTORNEY GENERAL OF CALIFORNIA,
 XAVIER BECERRA                                     MICHAEL,ZARRO@DOJ.CA.GOV


 CA ATTORNEY GENERAL'S OFFICE                       PIU@DOJ.CA.GOV



 CALIFORNIA DEPARTMENT OF CONSERVATION,
 XAVIER BECERRA                         SHARON.ARMSTRONG@CONSERVATION.CA.GOV


 CALIFORNIA DEPT. OF FISH &WILDLIFE 5               ASKRS@WILDLIFE.CA.GOV



 CALIFORNIA DIVISION OF OIL, GAS &
 GEOTHERMAL RESOURCES                               WEBMASTER@CONSERVATION.CA.GOV


 CALIFORNIA EMPLOYMENT DEVELOPMENT
 DEPT                                               WOTCSUPPORT@EDD.CA.GOV


 CALIFORNIA REGIONAL WATER QUALITY
 CONTROL BOARD                                      CENTRALCOAST@WATERBOARDS.CA.GOV




1 572280.1 26932
Case 9:19-bk-11573-MB    Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13   Desc
                         Main Document     Page 15 of 17
                  HVI CAT CANYON,INC. —Case No. 9:19-bk-12417-MB

                                 Master Service List


 CALIFORNIA STATE CONTROLLER               EOINQUIRY@SCO.CA.GOV




 CALIFORNIA WATER RESOURCES CONTROL
 BOARD                                     INFO@WATERBOARDS.CA.GOV


 CHARLES C. ALBRIGHTTRUSTEE                CALBRIGHT@JUNO.COM




 DIAMOND MCCARTHY LLP
 ALLAN DIAMOND                             ADIAMOND@DIAMONDMCCARTHY.COM


 EPA REGION 9 ENVIRONMENTAL PROTECTION
 AGENCY                                    R9.INF0@EPA.GOV


 G LR, LLC                                 VAB@GRERANGROUP.COM
 VIOLETA BERNICZKY


 HVI CAT CANYON, INC.
 ALEX G. DIMITRIJEVIC                      AGD@GREKA.COM


 HVI CAT CANYON, INC.
 M. ERNESTO OLIVARES                       MEO@GREKA.COM


 HVI CAT CANYON, INC.
 RANDEEP S. GREWAL                         RSG@GREKA.COM


 CARSON O'BRIEN LLP
 STEPHEN CARSON                            SLARSON@LARSONOBRIENLAW.COM


 LARSEN O'BRIEN LLP
 PAUL RIGALI                               PRIGALI@LARSONOBRIENLAW.COM


 LARSEN O'BRIEN LLP




1572280.1 26932
Case 9:19-bk-11573-MB     Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13    Desc
                          Main Document     Page 16 of 17
                  HVI CAT CANYON,INC. —Case No. 9:19-bk-12417-MB

                                  Master Service List


 N ORTHERN CALIFORNIA COLLECTION SERVICE,
 I NC.                                      NORCAL@NCCSINC.COM


 O'MELVENY & MYERS LLP
 COUNSEL TO UBS AG, LONDON BRANCH           BMETCALF@OMM.COM


 O'MELVENY & MYERS LLP
 COUNSEL TO UBS AG, LONDON BRANCH           DCANTOR@OMM.COM


 O'MELVENY & MYERS LLP
 COUNSELTO UBS AG, LONDON BRANCH            DPATRICK@OMM.COM


 O'MELVENY & MYERS LLP
 COUNSEL TO UBS AG, LONDON BRANCH           EJONES@OMM.COM


 O'MELVENY & MYERS LLP
 COUNSELTO UBS AG, LONDON BRANCH            JTAYLOR@OMM.COM


 OFFICE OF THE UNITED STATES TRUSTEE,
 SOUTHERN DISTRICT NEW YORK —GREG           GREG.ZIPES@USDOJ.GOV
 M. ZIPES

 OFFICE OF THE UNITED STATES TRUSTEE,
 SOUTHERN DISTRICT NEW YORK —SERENE         SERENE.NAKANO@USDOJ.GOV
 N AKANO, ESQ.

 PG&E                                       DAN8@PGE.COM
 DENISE A. NEWTON


 PG&E                                       PGEBANKRUPTCY~a PGE.COM;
 MARCELLUS TERRY                            MXTN@PGE.COM; MARCELLUS.TERRY@PGE.COM


 QUINN EMANUEL URQUHART &
 SULLIVAN, LLP                              DEVINVANDERHAHN@QUINNEMANUEL.COM
 ATTORNEYS FOR GIT, INC.

 QUINN EMANUEL URQUHART &
 SULLIVAN, LLP                              PATfYTOMASCO@QUINNEMANUEL.COM
 ATTORNEYS FOR GIT, INC.




1572280.1 26932
Case 9:19-bk-11573-MB     Doc 693 Filed 01/09/20 Entered 01/09/20 16:28:13   Desc
                          Main Document     Page 17 of 17
                  HVI CAT CANYON,INC. —Case No. 9:19-bk-12417-MB

                                  Master Service List


 QUINN EMANUEL URQUHART &
 SULLIVAN, LLP                              PETERCALAMARI@QUINNEMANUEL.COM
 ATTORNEYS FOR GIT, INC.

 SANTA BARBARA COUNTY P&D
 JOHN ZOROVICH                              JZORO@CO.SANTA-BARBARA.CA.US


 SANTA BARBARA COUNTY TREASURER-TAX
 COLLECTOR                                  SBTAXES@CO.SANTA-BARBARA.CA.US


                                            VMCISAA@CO.SANTA-BARBARA.CA.US
 SANTA BARBARA COUNTY TREASURER-TAX
 COLLECTOR


 SHERRILL A. SCHOEPE                        S.WETZLER@MUSICKPEELER.COM



                                            SUSAN@WHALENATTORNEY.COM
 THE LAW OFFICE OF SUSAN M. WHALEN
 SUSAN M. WHALEN, ESQ.


                                            JULIAN.GOULD ~a UBS.COM
 U BS AG LONDON BRANCH



                                            SMALLBUSINESSTEAM@WOLTERSKLUWER.COM
 VICTORY OIL
 ERIC JOHNSON


                                            RACHAEL.FOUST@WEIL.COM
 WEIL, GOTSHAL & MANGES LLP
 COUNSEL FOR PG&E


                                            MBARBEY@WESTCOASTWELDING.NET
 WEST COAST WELDING & CONSTR. I



                                            CARAMEL@HOTMAIL.COM
 WILLIAM W. JENNYJR.




1572280.1 26932
